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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 9:07-CV-80680-RYSKAMP/VITUNAC

INFINITY GLOBAL LLC, a
Delaware limited liability company,

Plaintiff,
vS.

RESORT AT SINGER ISLAND
PROPERTIES, INC., a Florida corporation,
and

WCI COMMUNITIES, INC.,

a Delaware corporation,

Defendants.
/

 

DEFENDANT RESORT AT SINGER ISLAND PROPERTIES, INC.’S
MOTION TO DISMISS THE COMPLAINT,
REQUEST FOR ATTORNEYS FEES
AND INCORPORATED MEM()RANDUM OF LAW
Defendant Resort at Singer lsland Properties, lnc. (“Resort”), pursuant to Fed.R.Civ.P.
lZ(b)(6) and S.D.L.R. 7.l, moves the Court to dismiss Plaintifi’s Complaint with prejudice The

grounds for this motion are stated with more particularity in the following Memorandum of Law.

MEMORANDUM OF LAW

 

Introduction
On September 30, 2004, Plaintiff agreed to speculatively invest in two luxury
condominium units from Resort, which are the subject of this lawsuit. Plaintiff, a sophisticated
real estate investment LLC entered into two contracts outlining in detail the nature of the
property being sold and the terms of the purchase. By signing these contracts, Plaintiff

acknowledged that Resort would be damaged by its failure to close, and expressly agreed to

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forfeit its deposit, with interest, to pay for this damage. Plaintiff has refused to close on the
condominium purchases lt therefore forfeited the deposits to Resort, as agreed Nonetheless, on
July 31, 2007, Plaintiff filed this action seeking to avoid the legal effect of the contracts it
willingly signed. Although the complaint contains class allegations, Plaintiff has not complied
with the rules concerning class actions; therefore, this action cannot be considered a putative
class action.

I. ALLEGATIONS IN THE COMPLAINT

Almost three years have passed since Plaintiff, a real estate speculation LLC, agreed to
purchase multi-million dollar condominiums from Resort. After refusing to close on the
purchases due to the downturn in the Florida condominium market and realizing that it would be
required to pay its deposits as damages for these breaches of contract, Plaintiff now alleges that it
was somehow misled at the time it entered into the contracts.

Specifically, Plaintiff alleges that Resort, acting as an “agent or alter ego of WCI,”
violated the Interstate Land Sales Full Disclosure Act (“ILSA”), 15 U.S.C. § 1701 et Seq., by
committing various misleading and deceptive acts during the condominium sales transaction
nearly three years ago. Compl. ‘|Hl 21-69. Plaintiff alleges that “Resort/WCI” violated lLSA by
l) charging interest during a “cure” period after the purchaser breaches the sales contracts by
failing to close; 2) stating in the contracts that an affiliated title insurance company charges the
“minimum rate promulgated by the Florida Department of Insurance”; 3) requiring a purchaser
to sign a release in connection with the refund of the purchaser’s deposit; 4) providing Plaintiff
with an updated estimated assessment budget showing that Plaintiff would be charged the same

total assessments as reflected in the original estimated assessment budget; 5) delivering one

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page of a fifty-four page property report to Plaintiff one week after the fifty-three pages had been
given to it; and 6) enforcing the liquidated damages provision of the contracts Compl. 1111 21-69.

Plaintiff also alleges that the exact same conduct, all of which occurred in the context of
Plaintiff" s transaction with Resort, violated the Florida Deceptive and Unfair Trade Practices Act
(“FDUTPA”). Compl. 1111 70-99. Plaintiff asserts this FDUTPA claim only against WCI. Id. at 1[
Sl.

Interestingly, Plaintiff does not allege that it was charged or actually paid any interest at
all for the period after he breached the contracts by refusing to close. Plaintiff does not, and
cannot, allege that it actually purchased any title insurance with respect to the contracts at issue
in this case, since it did not close on the purchase of those condominiums Nor does Plaintiff
allege that it, or anything else, was actually charged a greater amount for assessments than the
assessments listed in the estimated budget.

There are also no allegations in the Complaint explaining why Plaintiff only now asserts
that these terms in the contracts_which were in the contracts at the time it signed the contracts
nearly three years ago_were “misleading.” Plaintiff had ample opportunity to read the
contracts, understand their terms, and object or rescind the contracts Plaintiff did not do so and
cannot now seek to avoid its obligations under the contracts simply because there has been a
downturn in the Florida condominium market and it does not want to forfeit its deposits as it
agreed in the contracts

Although there are no allegations in the Complaint that Plaintiff had any contact
whatsoever with WCI during its transaction, Plaintiff purports to bring claims against WCI on

behalf of a class of condominium purchasers Compl. 1111 15-20.

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II. STANDARD ON MOTION TO DISMISS

The United States Supreme Court recently clarified the standard for motions to dismiss
brought under Fed. R. Civ. P. 12(b)(6) in Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955 (2007)
(abrogating Conley v. Gibson, 355 U.S. 41 (1957)).

The Twombly Court expressly rejected the “no set of facts” standard previously relied
upon by many federal courts, holding that “[a]fter puzzling the profession for 50 years, [the ‘no
set of facts’ standard] has earned its retiremen ” and is “best forgotten.” Ia'. at 1969. The Court
held that “a plaintiff" s obligation to provide the grounds of his entitlement to relief requires more
than labels and conclusions and a formulate recitation of the elements of a cause of action will
not clo. Factual allegations must be enough to raise a right to relief beyond a speculative level.”
Icl. at 1964-1965 (internal quotations, alterations, and citations omitted). Rather, Twombly
requires that a plaintiff allege “enough facts to state a claim to relief that is plausible on its face.”
Id. at 1974. Something beyond “the mere possibility” of a claim must be alleged “lest a plaintiff
with ‘a largely groundless claim’ be allowed to ‘take up time of a number of other people, with
the right to do so representing an in terrorem increment of the settlement value.” Icl. at 1966.

The Complaint here fails to satisfy the Twombly standard with regard to any substantive
count asserted and, as such, the Complaint should be dismissed
III. ARGUMENT

A. Plaintiff Fails To State An ILSA Claim

1. Plaintiff"s Claims Under 15 U.S.C. § 1703(d) Are Barred By A Two-
Year Limitation Period

In passing ILSA, 15 U.S.C. § 1701 et Seq., the Senate Special Committee on Aging in
1964 wanted to “compensate purchasers who may have lost their life savings by investing in

fraudulent land sales.” Fitzgeralcl v. Century Park, lnc., 642 F.Zd 356, 358 (9th Cir. 1981). One

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way ILSA accomplishes this purpose is by requiring that purchasers of real estate be afforded
certain remedies upon their failure to close on a purchase of property covered by the Act.

Specifically, section 1703(d) provides that a contract that does not contain certain
remedial provisions for the benefit of the purchaser “may be revoked at the option of the
purchaser or lessee for two years from the date of the signing of such contract or agreement.” If
a purchaser does not assert his revocation rights under section 1703(d) within two years of
signing his contract, its section 1703(d) claim will be dismissed Collins v. Keller, 969 S.W.Zd
621, 624 (Ark. 1998); Orsi v. Kirkwoocl, 999 F.2d 86, 89 (4th Cir. 1993) (construing identical
language in section 1703(c).

Plaintiff’s section 1703(d) claim is time-barred Plaintiffs contracts were executed on
September 30, 2004. ln order to bring a timely claim under section 1703(d), it would have had
to obtain rescission of its contract on or before September 30, 2006. However, Plaintiff never
sought nor requested rescission within two yeas of its contract date, and the Complaint fails to
allege otherwise. l\/Ioreover, Plaintiff did not file this untimely action until July 31, 2007.
Therefore, Plaintiff" s section 1703(d) claims are barred under the two-year limitation period in
section 1703(d) and must be dismissed

2. Plaintiff Fails To State A Claim For Relief Under 15 U.S.C. § 1703(a)

ILSA “is an antifraud statute utilizing disclosure as its primary tool, much like the
securities laws ” Winter v. Hollz'ngsworth Propertz'es, 777 F.Zd 1444, 1447 (llth Cir.1985).
Specifically, “Congress desired to protect purchasers from unscrupulous sales of undeveloped
home sites, frequently involving out-of-state sales of land purportedly suitable for development
but actually unsuitable such as land under water or useful only for grazing.” Panz`aguas v, Ala'on

Companies, Inc., No. 2:04-CV-468-PRC, 2005 WL 1983859, *4 (N.D. Ind Aug. 17, 2005).

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Thus, the disclosure requirements of ILSA are intended to protect a purchaser from unknowingly
purchasing land that is undesirable or unsuitable for the uses the purchaser intends
In furtherance of this goal, section 1703(a) requires developers to provide purchasers
with a printed property report meeting certain requirements in advance of the signing of the
contract for the purchase of real estate. 15 U.S.C. § 1703(a)(1)(B) (stating that it is unlawful to
fail to provide a property report complying with section 1707 of ILSA); 15 U.S.C. § 1703(0)
(providing a remedy of rescission for the failure to provide a property report). ILSA also
prohibits developers from making untrue statements or omitting material information, about the
undeveloped land they are selling. It is clear from the legislative purpose of the Act and its
express terms that the focus of the Act is misrepresentations concerning the property itself.
Specifically, section 1703(a)(1)(C) prohibits a developer from selling “any lot where any
part of the statement of record or the property report contained an untrue statement of material
fact or omitted to state a material fact required to be stated therein pursuant to sections 1704
through 1707 of this title or any regulations thereunder.” To state a claim for relief under
section l703(a)(l)(C), Plaintiff must therefore allege either an untrue statement in a property
report, or that the property report omitted a material fact required to be included pursuant to the
statute or regulations Paniaguas, 2005 WL 1983 859, at *4 (“In order to prove an ILSA claim, .
. . a plaintiff must show that a defendant made an untrue statement or omitted a material fact
from a property report in violation of 15 U.S.C. § l703(a)(1) . . .”).
Similarly, section 1703(a)(2)(B) prohibits
[A]ny untrue statement of material fact, or any omission to state a material
fact necessary in order to make the statements made (in light of the
circumstances in which they were made and within the context of the

overall offer and sale or lease) not misleading with respect to any
information pertinent to the lot or subdivision

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(Emphasis supplied). To state a claim under section 1703(a)(2)(B), a Plaintiff must allege that “a
defendant made an untrue statement or omitted a material fact in a defendant's dealings with
purchasers.” Ia’.

Plaintiff alleges that Defendants violated section 1703(a) of ILSA by l) stating that its
affiliated title insurance company charges the “minimum rate promulgated by the Department of
lnsurance” both in the contract and in the property report, 2) giving Plaintiff an estimated
assessment budget that reflected the same charges as the assessment budget in the condominium
prospectus; and 3) delivering one page of a fifty-four page property report to Plaintiff one week
after the fifty-three pages had been given to it. These allegations are insufficient to sustain a
claim under ILSA.1

a. Resort’s Representations Concerning Title Insurance Rates
Are Not Untrue Or Misleading

Plaintiff alleges that it was “misled by the written contract into believing that the rate
charged by [Defendant’s] affiliated business is the bare minimum available charge as allowed by
Department of Insurance.” Compl. ‘|l 46. However, the statement that Resort’s affiliate, First
Fidelity Title (“FFT”), charges the “minimum rate promulgated by the Department of lnsurance”
is not untrue, nor did Resort omit any facts regarding title insurance rates necessary to make its
disclosure concerning title insurance rates not misleading

The Florida Financial Services Commission (the “Commission”) sets the specific rates to
be charged for title insurance, including the amount to be retained by the insurer and agent.

§ 627.782(1), Fla. Stat. (2007) (stating that the Commission “must adopt a rule specifying the

 

l To the extent Plaintiff’s claims are based on section 1703(a)(1)(C), which prohibits a developer from selling or
leasing “any lot where any part of the statement of record or the property report contained an untrue statement of a
material fact or omitted to state a material fact requires to be stated therein pursuant to section s 1704 through 1707
of this title or any regulations thereunder,” Plaintiff has not alleged that the property report failed to comply in any
respect with the disclosures in section 1704 through 1707. Therefore, Plaintiff’s claim under 1703(a)(1)(C) can only
succeed if Plaintiff can show an untrue statement, which, as described below, he cannot

 

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premium to be charged in this state by title insurers for the respective types of title insurance

contracts and, for policies issued through agents or agencies, the percentage of such premium

required to be retained by the title insurer which shall not be less than 30 percent”). lt is illegal

for any title agent to charge an amount different than those set in the rate schedule above.

§ 627.78(1), Fla. Stat. (stating that “[a] person may not knowingly quote, charge, accept, collect,

or receive a premium for title insurance other than the premium adopted by the Commission”).

The rates adopted by the Commission are listed in Florida Administrative Code Rule 690-

186.003, which provides that the premium charged for an original owner’s title insurance policy

Per Thousand Minimum
[of Insurance]3 Insurer

“Shan be;”2
From $0 to $100,000 of liability written $5.75
From $100,000 to $l million, add $5.00

Over $1 million to and up to $5 million, add $2.50
Over $5 million and up to $10 million, add $2.25

Over $10 million, add $2.00

Retention
30%

30%

35%

40%

40%

Rule 690-186.003(1)(a)(1) also specifies certain minimum premiums to be charged:

b. The minimum premium for all conveyances except multiple

conveyances shall be $100.

c. The minimum premium for multiple conveyances on the same property

shall be $60.

 

2 The contract attached to the complaint makes it clear that owners’ title insurance policy is at issue.

3 The Rule specifies that “[t]o compute any insurance premium on a fractional thousand of insurance (except as to
minimum premiums), multiply such fractional thousand by the rate per thousand applicable, considering any

fraction of$lO0.00 as a full $100.00.”

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2. In all cases the owner's policy shall be issued for the full insurable value
of the premises

(emphasis supplied).

Although Plaintiff claims that it was mislead because it could have paid less for title
insurance if it had received a rebate, Plaintiff expressly acknowledges that a rebate is not actually
a part of these rates promulgated by the Department: “[a] prospective purchaser could have
obtained a rate less than the amount promulgated by the Florida Department of Insurance with a
title company not affiliated with [Defendants] by receiving a rebate of the title agent’s portion of
the risk premium.” Compl. 1[ 43.

The Florida Supreme Court’s decision in Chicago Title Insurance Co. v. Butler, 770 So.
2d 1210 (Fla. 2006), confirms that the rebate referred to by Plaintiff is not part of the “minimum
rate” set forth in Rule 690-186.003. ln Butler, the Florida Supreme Court declared
unconstitutional certain portions of the Insurance Code which prohibited title insurance agents
from rebating any portion of the premium rates they received to repeat customers Thus, the
Court held that once the rates set by the Commission are properly charged, an agent is free to
attempt to negotiate with that agent to have its portion of that rate_which is set by rule at
seventy percent of the premium charged_-returned by rebate. Such a rebate is not a “rate”
specifically set by any statutory or regulatory authority, and a title insurance agent is not
obligated by law to offer a rebate. There is in fact a minimum rate promulgated by the
Commission for the premium to be charged for title insurance-_of which any agent rebate is not
a part_and the statements regarding the title insurance rates charged by FFT are therefore true.

No further disclosures were required in order to make the statement that FFT charges the

“minimum rate as promulgated by the Department of lnsurance” not misleading “in light of the

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circumstances in which they were made and within the context of the overall offer and sale or
lease.” § 1703(a)(2)(B).

As a preliminary matter, there is no general duty to disclose the lowest possible prices for
title insurance, especially in this type of an arms-length transaction where Defendant is not even
an insurance company. See Oa’en v. First Floria'ian Auto & Home Ins. Co., No. 02-CA-3244-JT,
slip op. at 2 (Fla. Cir. Ct. Dec. 5, 2003) (finding “there is no duty to disclose to Plaintiff or other
customers the lowest available prices for automobile insurance, therefore, this Court should
dismiss [the] action”); see also Griggs v. The Progressive Corp., No. CI 2003-200, slip. op. at 3
(Miss Cir. Ct. l\/Iay 18, 2004) (“Therefore, to the extent [p]laintiff’s fraud claim is based upon a
mere concealment or nondisclosure of the lowest price [for insurance] by the Progressive
defendants, Plaintiff has failed to state a claim upon which relief can be granted”); Smith v. The
Progressive Corp., No. 2003-0078, slip. op. at 3 (l\/liss. Cir. Ct. May 14, 2004) (holding that
because “no fiduciary duty exists between a seller of insurance and a purchaser . . . there was no
affirmative duty on the part of the Defendants to disclose to the Plaintiff that she was not
receiving the lowest quote”).

Moreover, the contract specifically discloses that better title insurance prices might be
available from non-affiliated entities:

You are NOT required to use the listed provider(s) as a condition for the
purchase, sale or refinance of the subject property. THERE ARE
FREQUENTLY OTHER SETTLEMENT SERVICE PROVIDERS
AVALIABLE WITH SIl\/IILAR SERVICES. YOU ARE FREE TO
SHOP AROUND TO DETERMINE THAT YOU ARE RECEIVING
THE BEST SERVICES AND THE BEST RATE FOR THESE
SERVICES.

This provision makes clear that Plaintiff was made aware of the possibility that better prices

were available and also that Plaintiff bore the burden of investigating the availability of lower

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prices for title insurance, including the availability of rebates Price v. Owens-Illinois
Development Corp., 646 F.Supp. 314, 318 (M.D. Ga. 1986) (granting summary judgment on
purchaser’s claim that developer’s failure to disclose that restrictive covenants could be amended
was an omission actionable under ILSA where the restrictive covenants themselves stated that
they could be amended and “[t]he nonmisleading character of this whole transaction is made
even more clear by the repeated notices to plaintiff that he should study the restrictive
covenants”); Cook v. Deltona Corp., 753 F.2d 1552, 1560 (llth Cir. 1985) (directed verdict
affirmed for developer on purchaser’s claims that he did not understand the true nature of the
property he bought where the purchaser “knew, at the time of purchase, that the lot for which he
was contracting was underwater”); cf Fillmore v. Dept. of Pub. Utils., 257 N.E. 2d 427, 428
(l\/lass 1970) (“It is not unreasonable to place the burden on the customer to see that he is getting
the lowest rate to which he is entitled”). Plaintiff s claim should therefore be dismissed

b. Plaintiff’ s Conclusory Allegation That The Budget Was False
Fails Under Twombly

Under the new Twombly standard, a plaintiff must be able to plead his or her way out of
“neutral territory” in order to resist a motion to dismiss Where, as here, the facts pled, as
opposed to the legal conclusions asserted, leave the possibility of legal conduct as open as the
possibility of conduct giving rise to liability, the complaint should be dismissed Twoinbly, 127
S.Ct. 1255 (2007) (internal quotations and citations omitted) (“[A] plaintiff’ s obligation to
provide the ‘grounds’ of his ‘entitle[ment] to relief requires more than labels and conclusions
and a formulaic recitation of the elements of a cause of action will not do. Factual allegations
must be enough to raise a right to relief beyond a speculative level . . .”).

In Two)nbly, plaintiffs brought a putative class action alleging that a group of telephone

carriers called ILECs had engaged in a price fixing conspiracy in violation of the Sherman Act

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by refusing to deal on certain terms with competitors called CLECS and by refusing to compete
in one another’s territories Substantively, the Sherman Act prohibits only actual agreements on
these matters and does not prohibit so-called “conscious parallelism,” in which groups of
competitors aware of one another’s positions act similarly in the market place. That said,
conscious parallelism can be submitted as circumstantial evidence of an illegal actual agreement
The Twombly plaintiffs alleged numerous examples of consciously parallel behavior, and they
also alleged in conclusory fashion, on information and belief, the existence of an illegal actual
agreement However, the Twombly plaintiffs could not allege specific facts other than examples
of conscious parallelism, that suggested any illegal actual agreement The Supreme Court held
that, in these circumstances the complaint remained in “neutral territory” and should be
dismissed:

A statement of parallel conduct, even conduct consciously undertaken,

needs some setting suggesting the agreement necessary to make out a § 1

claim: without that further circumstance pointing toward a meeting of the

minds an account of a defendant’s commercial efforts stays in neutral

territory. An allegation of parallel conduct is thus much like a naked

assertion of conspiracy in a § 1 complaint: it gets the complaint close to

stating a claim, but without some further factual enhancement it stops

short of the line between possibility and plausibility of “entitle[ment] to

relief.”
Twombly, 127 S.Ct. at 1266.

The pleading problem identified in Twombly is exactly analogous to the problem with the

present Complaint’s missing allegations

Just as the Twombly plaintiffs’ only factual allegations set forth instances of legal

 

conscious parallelism, the Complaint’s only factual allegations are that the estimated budget
provided in the condominium prospectus and the assessment budget included prior to closing

were the same. Plaintiff concludes based on information and belief, that the budget is not “an

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honest assessment” of the actual assessment costs purchasers will pay. In Twombly, the alleged
conscious parallel conduct left open the possibility that there had been no illegal actual
agreement, where actual agreement was the sine qua non of Sherman Act liability. Similarly, the
missing factual allegations of the Complaint leave open the possibility that the budget provided
at closing was in fact a good faith, true, and accurate estimate of assessments in compliance with
Defendants’ obligations under section 718.504, Florida Statutes.4 Under these circumstances
there is no basis for concluding that the budget was untrue, much less that it was “misleading.”
Plaintiff fails to meet the pleading requirements of Twombly, and his claims must therefore be
dismissed See Brocker v. Norwegian Cruise Line Limited, No. 06-23006-CIV, 2007 WL
2155648 (S.D. Fla. July 26, 2007) (dismissing complaint for failure to comply with Twombly).

c. Providing One Page Of A Fifty-Four Page Document One
Week Apart Is Not A Violation Of ILSA

The underlying purpose of the disclosure requirements of ILSA is that “prior to the
purchase the buyer must be informed of facts which would enable a reasonably prudent

individual to make an informed decision about purchasing the security or the property.” Paquin

 

4 Moreover, the Florida Legislature recently enacted a clarification of existing law stating that changes in assessment
budgets due to expenses beyond the control of the developer are not material, adverse changes giving rise to a right
of rescission. See § 718,504(21)(e), Fla. Stat. (2007) (stating that “subsequent increased amounts of any item
included in the association's estimated budget that are beyond the control of the developer shall not be considered an
amendment that would give rise to rescission rights set forth in s. 719.503(1)(a) or (b), nor shall such increases
modify, void, or otherwise affect any guarantee of the developer contained in the offering circular or any purchase
contract”). This statute suggests that any change to the budget due to expenses such as insurance and property taxes
should not be considered material under ILSA as well.

Notably, Plaintiff did not attach to its Complaint the condominium documents the condominium prospectus copies
of the estimated budgets or any of the other documents referred to in relation to the assessment Nevertheless,
“where the plaintiff refers to certain documents in the complaint and those documents are central to the plaintiffs
claim, then the court may consider the documents part of the pleadings for purposes of Rule 12(b)(6) dismissal.”
Brooks v. Blue Cross & Blue Shield of Fla., lnc., 116 F.3d 1364, 1369 (1 lth Cir. 1997). “The full consideration of
such documents is necessary lest a court be subject to possibly evasive tactics by plaintiffs that may selectively
quote from a document not attached to its complaint and thus blindfold the court and prevent a proper consideration
of the true merits of the pleadings ” Lasker v. New York State Elec. & Gas Corp., 1995 WL 867881 *4 (E.D.N.Y.
Aug. 22,1995). Therefore, the Court should rely upon the language in the condominium documents in considering
whether Plaintiff`s claims are subject to dismissal

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v. F our Seasons of Tennessee, Inc., 519 F.2d 1105, 1109 (5th Cir. 1975).5 The test of materiality
is whether a reasonable investor might have considered the omitted fact or erroneous statement
as important in making a decision. Id. In furtherance of this goal, ILSA requires that a
developer provide a purchaser with a property report containing certain information about the
property before the purchaser signs the contract to ensure that purchasers have all material
information with respect to a land sale transaction Where a developer substantially complies
with the purposes of ILSA by providing a property report, a developer’s failure to perfectly
comply with de minimis technical requirements will not give rise to a claim under ILSA. Las
Campanas Lta’. Partnersth v. Pribble, 943 P.2d 554, 558 (N.M. App. 1997).

In Las Campanas, a purchaser sought to rescind his land purchase contract because the
developer failed to attach to the property report a receipt acknowledging that he had received the
property report as required by ILSA. Id. at 556. The court held that the purchaser was not
entitled to rescind his contract because the developer “substantially complied with the intent of
the regulation.” Ia’. at 558. The court reasoned that “[w]e are not persuaded that ILSFDA or its
implementing regulations entitle [the purchaser] to rescind the contract solely because of [the
developer’s] failure to comply with the regulation’s technical requirement of physically attaching
the receipt to the property report or because of discrepancies in the dates of the documents.” The
court also pointed out that the purchaser received the property report before he signed the
contract; that the developer did not engage in any misleading practice or device; and that there
was a warning on the property report in large letters to “READ THIS PROPERTY REPORT
BEFORE SIGNING ANYTHING.” Ia’. at 526. The court concluded that the technical violation

of the statute did not provide grounds for rescission under ILSA.

 

5 Under Bonner v. City of Pritchard, Alabama, 661 F.2d 1206 at 1207 (1 lth Cir. 1981), all Fifth Circuit cases
decided before 1981 are binding on federal courts Within the Eleventh Circuit.

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Here, Plaintiff alleges that Resort violated ILSA by providing a single page of a fifty-four
page property report a few days after it signed the Contract. This claim is without merit.
Plaintiff had access to all material information with respect to the land purchase before it signed
the Contract: Plaintiff acknowledges that it received a property report on September 15, 2004,
the day it signed the Contract. Moreover, the property report states in large type on its cover,
“READ THIS PROPERTY REPORT BEFORE SIGNING ANYTHING.” Plaintiff was
therefore on notice of the nature of the disclosures in the property report, and there is no basis for
concluding that a reasonable investor would consider the receipt of a single page of the property
report a few days after signing the contract to be “important” in making the decision to purchase
a multi-million dollar property. By providing fifty-three pages of a fifty-four page property
report to Plaintiff before it signed its contract, Resort substantially complied with the intent of
ILSA, and Plaintiff has therefore failed to state a claim for relief.

Because Plaintiff has failed to allege the existence of any untrue material statement or
misleading omission in the property report or otherwise, or any other basis for a claim under
section 1703(a), his claims under section l703(a) must be dismissed

B. Plaintiff’ s FDUTPA Claim Should Be Dismissed

Plaintiff asserts a claim under FDUTPA against WCI only. Resort hereby adopts the
arguments laid out in WCI’s Motion to Dismiss for the reasons why the FDUTPA claim must be
dismissed

C. The Contract Cannot Be Declared Void

As a general rule, “parties are free to ‘contract-out’ or ‘contract around’ state or federal
law with regard to an insurance contract, so long as there is nothing void as to public policy or

statutory law about such a contract.” Green v. Life & Health of America, 704 So.2d 1386,

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1390 (Fla. 1998). The reason for this rule is that contracting parties may not “stipulate for
iniquity” and public welfare dictates that “each contract must have a lawful purpose.” Wechsler
v. Novak, 26 So.2d 884, 887 (Fla. 1946).

Public welfare does not demand that every contract that may run afoul of a particular
statute is entirely void Rather, “a contract in violation of a statute, which statute does not
expressly declare such contract void, will be enforced unless there is some other indication
within the statute of legislative intent to invalidate such contract.” T alco Capital Corp. v.
Canaveral International Corp., 225 F.Supp. 1007 (S.D. Fla. 1965), ajj”’a’ 344 F.2d 962 (5th Cir.
1965); see also Pal)n Bay Tower Corp. v. Brooks, 466 So. 2d 1071 (Fla. 3d DCA 1985).
Therefore, a court will not declare a contract void where there is no indication, either in the
statute itself or in its legislative history, that the remedy for a violation of that statute is to void
contracts Trotter v. F oral Motor Crea’it Corp., 868 So. 2d 593, 594 (Fla. 2d DCA 2004).

ln Trotter, 868 So. 2d at 594, a car purchaser sued the dealer who sold him the car and
the assignee of his financing contract, alleging that he was entitled to restitution of the amount he
paid under the financing contract ln support of his restitution claim, the purchaser asserted that
the financing contract was void under Florida’s public policy because it violated several statutes
Ia’. The Second District Court of Appeal held that the purchaser failed to state a claim for
restitution. Ia’. The court reasoned that “[n]othing in the language of the Motor Vehicle Retail
Sales Finance Act, or in Florida case law, would render the entire finance contract void because
of the violation of chapter 520.” Ia’. The court pointed out that the plaintiffs could not
“circumvent their inability to state a cause of action against [the assignee of the financing

contract] merely by claiming any violation renders the contract void” Icl.

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Here, Plaintiff claims that it has been damaged by WCI’s failure to return its deposit
because the contract was “void ab initio, as it was illegal under ILSA and FDUTPA.” Nothing
in ILSA, or its legislative history, or case law, indicates that Congress intended that all contracts
that violate ILSA are void Rather, ILSA provides very strict time limits on seeking a remedy of
rescission. Specifically, claims for rescission must be made within two years of the execution of
the sales contract. See e.g. 15 U.S.C. § l703(c), (d). This demonstrates a legislative intent to
limit the remedy of declaring a contract void in violation of ILSA to two years from the time the
purchase contract was signed Plaintiff filed this action more than two years after signing his
contract with Resort and has not alleged that it timely asserted any right of revocation under
ILSA. Therefore, any alleged failure to comply with ILSA cannot render the entire contract
void, and Plaintiff is not entitled to the relief it seeks
IV. ATTORNEYS’ FEES

WCI is entitled to recover its attorneys’ fees against Plaintiffs pursuant to paragraph 25.6
on page 11 of the Contract, which states: “In connection with any alternative dispute resolution
proceedings or litigation, including appellate proceedings arising out of this Contract, the
prevailing party shall be entitled to recover attorneys’ fees and costs.”

CONCLUSION

WHEREFORE, Resort respectfully requests that the Court dismiss the Complaint with
prejudice, award it the attorneys fees it incurred in this case, and grant such other and further
relief as the Court deems appropriate.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on September 11, 2007, l electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. l also certify that the foregoing document

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is being served this day on all counsel of record or pro se parties identified on the attached
Service List in the manner specified, either via transmission of Notices of Electronic Filing
generated by CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to receive electronically Notices of Electronic Filing.

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